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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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CONAIR CORPORATION                                          :

                                  Plaintiff,                :    Civil Action No. 1:19-cv-1284

                 -against-                                  :

CLARK ASSOCIATES, INC. and the                              :    RULE 7.1 STATEMENT
WEBSTAURANT STORE,
                                                            :
                                  Defendants.
                                                             :
-------------------------------------------------------------x


        Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned attorney of

record for Plaintiff Conair Corporation hereby certifies that the foregoing Plaintiff has no parent

corporation and that there is no publicly held corporation that owns 10% or more of its stock.

Dated: New York, New York
       February 11, 2019

                                                   COWAN, LIEBOWITZ & LATMAN, P.C.



                                                   By:         /Meichelle R. MacGregor/
                                                         Meichelle R. MacGregor
                                                         Richard S. Mandel


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